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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

    INTERNATIONAL BUSINESS                          )
    MACHINES CORPORATION,                           )
                                                    ) C.A No. 16-cv-00122-LPS
                           Plaintiff,               )
                                                    ) JURY TRIAL DEMANDED
                  v.                                )
                                                    )
    GROUPON, INC.                                   )
                                                    )
                           Defendant.               )

                                        [PROPOSED] VOIR DIRE

         The parties request that the Court read the below statements regarding the nature of the

case and ask the following questions of prospective jurors.1


         This is a patent case. The plaintiff in this case is International Business Machines

Corporation, also known as “IBM.” The defendant is Groupon, Inc. IBM contends that

Groupon infringes four patents and seeks monetary damages to compensate it for that

infringement. Groupon denies that it infringes any valid patent and denies that IBM is entitled to

any damages.

         In light of this brief summary, I will ask you certain questions, the purpose of which is to:

(1) enable the Court to determine whether or not any prospective juror should be excused for

cause; and (2) enable counsel for the parties to exercise their individual judgment with respect to

peremptory challenges, that is, challenges for which no reason need be given by counsel.


         1.      Are you familiar with this case or have you heard or read anything about it?

                       a. Do you have an opinion about it?


1
 These questions assume the parties and Court will already have received Name, Residence, and
Employment Information.


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         2.      Counsel will now introduce themselves. After they do so, I will ask you whether

you or any members of your immediate family or anyone close to you know of or have any current

or former relationship with any of the attorneys or their law firms.

[Counsel introduce themselves.]

                      a. Are you related to, or personally acquainted with, any of those attorneys or

                         their firms?

         3.      The parties in this case are International Business Machines Corporation (IBM) and

Groupon, Inc. (Groupon). Do you know any of the parties or any of the following:

                 a.      Prodigy Services Company

                 b.      Trintex

         4.      Have you or a family member ever worked for, has business dealings with, or

owned stock in any of these companies or organizations?

         5.      I will now read a list of individuals who might appear as witnesses in this case:

                 Douglas Schmidt
                 Jerry Hausman
                 Jon Weissman
                 James Malackowski
                 Thomas McBride
                 Robert Filepp
                 Heather Hinton
                 Arun Iyengar
                 Michele Baumgartner-Bonanno
                 Brian Turner
                 Phil Dunham
                 Jim Breen
                 Jason Carlisle
                 Paul Davis
                 Jan Krems
                 Aileen Sandridge
                 Damien Schmitz
                 Varun Sood

         Do you know any of those individuals that might appear as witnesses in this case?



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         6.      Have you, a relative or close friend had any experience with patents, patent law,

patented technology, trade secrets or the United States Patent and Trademark Office?

         7.      Have you ever been involved in the development of a new product or process?

         8.      Do you have any strong feelings one way or another about awarding damages or

choosing not to award damages in a case like this?

         9.      Do you have an opinion about whether software or online processes should be

patented?

         10.     Do you frequently use a computer or mobile device for purchasing goods or

services?

         11.     Look around the other potential jury members. Do you know any of the others, or

have you had any relationship with any of the other jurors before today?

         12.     If you are selected to sit on this case, is there any reason you could not render a

verdict solely on the evidence presented at the trial and in the context of the law as given to you in

my instructions in reaching your verdict and disregard any other ideas, notions, or beliefs about

the law that you may have?

         13.     Do you have any special disability or problem that would make it difficult or

impossible for you to serve as a member of the jury?

         14.     On most days, jurors will be expected to sit from 9:00 in the morning until 4:30 in

the evening. There will be a one-hour lunch break and at least a 15 minute break in the morning

and afternoon. The trial is expected to last 10 days. Does this schedule present any special hardship

for you?




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         15.     Do you know of any other matter which you believe should be called to the court’s

attention or which you think may prevent you from rendering a fair and impartial verdict based

solely upon the evidence and my instructions as to the law?




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